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(a) Daniel Bibb <dan@danielbibblaw.com> Fri, Apr 15, 2022, 119AM fe

to Esq., me +

Mr. Bowers,

You have been aware since shortly after my appearance in the case, that my position was that Joseph Rabito as owner of First Choice and Prestige was nothing more than a landlord for

various corporate sub lessees, including 3 Leaf. There was no other relationship between and among those corporate entities.

Notwithstanding my position that Prestige and First Choice, as non-parties, are under no obligation to comply to your discovery requests, I have instructed my client to produce any subleases

he may have had with 3 Leaf or any of the other relevant corporate entities and to produce copies of any checks he may have received from 3 Leaf, Wingfield and/or Capital 7.
